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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS



IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                                  Case No.1:16-cv-08637
                                                            Hon. Judge Thomas M. Durkin
This Document Relates To:                                   Magistrate Jeffrey T. Gilbert
Winn-Dixie, Inc., et al. v. Koch Foods, Inc., et al.,
Case No. 1:18-cv-00245




             WINN-DIXIE’S MOTION FOR LEAVE TO FILE PORTIONS OF
                EXHIBITS A & B TO DOCKET NO. 2074 UNDER SEAL

        Plaintiffs, Plaintiffs Winn-Dixie, Inc. and Bi-Lo Holdings, LLC (collectively,

“Plaintiffs”), through their undersigned counsel, and pursuant to Local Rule 26.2 of the Local

Rules of the United States District Court for the Northern District of Illinois, respectfully move

this Court for entry of an order granting Plaintiffs leave to file under seal portions of Plaintiffs’

Proposed First Amended Complaint (“FAC”). In support, Plaintiffs state the following:

   1.   Certain portions of Plaintiffs’ FAC contains confidential information from documents

that are marked “HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER.”

   2. The Agreed Confidentiality Order instructs that “[a]ny party wishing to file a document

designated as Confidential or Highly Confidential Information in connection with a motion, brief

or other submission to the Court must comply with Local Rule 26.2” Dkt. No. 202 at 11.

   3. Under Local Rule 26.2(c), “[a]ny party wishing to file a document or portion of a

document electronically under seal in connection with a motion, brief or other submission must .

. . move the court for leave to file the document under seal.” L.R. 26.2(c).




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    4. In compliance with Local Rule 26.2(c), Plaintiffs filed a public-record version of the

Memorandum, with only the portions containing confidential information redacted.

        WHEREFORE, Plaintiffs respectfully request this Court to enter an order granting them

leave to file under seal portions of their Proposed First Amended Complaint under seal in its

entirety.

Dated: April 16, 2019




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